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28 U.S.C. § 2461(c)




                                     Robert K. Hur
                                     United States Attorney

ATRUBBILL:


SIGNATURE REDACTED
Foreperson                           Date
